                                                   U.S. Department of Justice

                                                   United States Attorney
                                                   Southern District of New York


                                                   The Jacob K. Javits Federal Building
                                                   26 Federal Plaza, 37th Floor
                                                   New York, New York 10278


                                                   March 5, 2024

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. Robert Menendez, et al.,
              S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes to advise the Court that a superseding indictment was
returned by the grand jury earlier today and docketed as S4 23 Cr. 490 (SHS) (the “Superseding
Indictment,” enclosed). The Superseding Indictment includes the same offenses as the S2
indictment as to Robert Menendez, Nadine Menendez, Wael Hana, and Fred Daibes, but also
charges corresponding substantive offenses, and includes new charges of conspiracy to obstruct
justice and obstruction of justice.
Honorable Sidney H. Stein
March 5, 2024
Page 2

         The filing of the Superseding Indictment will not necessitate the production of any
additional discovery and, in the Government’s view, does not affect the scheduled May 6, 2024
trial date.

                                                  Respectfully submitted,

                                                  DAMIAN WILLIAMS
                                                  United States Attorney

                                            By:   s/ Paul M. Monteleoni
                                                  Eli J. Mark
                                                  Paul M. Monteleoni
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Enclosure

cc:    Counsel of Record (via ECF)
